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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

MARK ZAID                                 *
c/o 1250 Connecticut Avenue, N.W.         *
Suite 700                                 *
Washington, D.C. 20036                    *
(Maryland Resident)                       *
                                          *
       Plaintiff,                         *
                                          *
       v.                                 *   Civil Action No. 21-1130
                                          *
DEPARTMENT OF JUSTICE                     *
950 Pennsylvania Avenue, N.W.             *
Washington, D.C. 20530-0001               *
                                          *
       Defendant.                         *
                                          *
*      *       *       *      *       *   *   *      *      *      *               *
                                        COMPLAINT

    This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, et seq.,

as amended, and the Privacy Act (“PA”) of 1974, 5 U.S.C. § 552a, et seq., as amended, seeking

the production of records responsive to a request submitted by the Plaintiff to the Defendant

Department of Justice (“DOJ”).

                                        JURISDICTION

    1. This Court has both subject matter jurisdiction over this action and personal jurisdiction

over the Defendant pursuant to 5 U.S.C. § 552(a)(4)(B), 5 U.S.C. § 552a(g)(1)(B), and

28 U.S.C. § 1331.

                                             VENUE

    2. Venue is appropriate under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1391.
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                                             PARTIES

   3. Plaintiff Mark Zaid (“Plaintiff”) is a U.S. citizen, resident of Maryland, and requested

responsive records via FOIA and PA.

   4. Defendant DOJ is an agency within the meaning of 5 U.S.C. § 552(f) and 5 U.S.C.

§ 552a(a)(1), and is in possession and/or control of the requested records that are the subject of

this action. DOJ controls – and consequently serves as the proper party defendant for litigation

purposes for – the Federal Bureau of Investigation (“FBI”).

                                       COUNT ONE (FBI)

   5. By letter dated March 31, 2021, the Plaintiff submitted a FOIA/PA Act request to FBI

via its online portal that listed fourteen (14) categories of information that was being sought.

   6. This lawsuit pertains only to categories #9, #10, #13 and #14.

   7. By letters dated April 6, 2021, and April 15, 2021, FBI assigned all the categories to

FOIPA Request No. 1493560-000 and invoked FOIA Exemption 7(A) to withhold all

potentially responsive records in full, despite the fact Exemption 7(A) cannot as a matter of fact

and law apply to all of the categories. At most, it applies to categories #1 - #8, #11 and #12,

none of which are the subject of this litigation. The Plaintiff does not agree nor he will concede

the FBI can inappropriately invoke in a sweeping manner an Exemption that has no relevance

to aspects of the request in an attempt to, or through mere laziness, require Plaintiff to exhaust

administrative remedies.

   8. Nonetheless, on April 30, 2021, Plaintiff submitted a timely appeal to DOJ’s Office of

Information and Policy regarding the extent to which FBI appropriately invoked Exemption

7(A) which, again, does not apply to categories #9, #10, #13 and #14, which are the subject of

this litigation. That appeal was designated as Appeal No. A-2021-01650.


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   9. Plaintiff has exhausted all required administrative remedies with respect to categories

#9, #10, #13 and #14 in his FOIA/PA request.

   10. Plaintiff is entitled to receipt of non-exempt copies of all records responsive to his

FOIA/PA request.

WHEREFORE, Plaintiff Mark S. Zaid prays that this Court:

   (1) Orders the Defendant to disclose non-exempt copies of the requested records in their

entirety and make copies promptly available to the Plaintiff;

   (2) Award reasonable costs and attorney’s fees as provided in 5 U.S.C. § 552 (a)(4)(E),

5 U.S.C. § 552a(g)(3)B), and/or 28 U.S.C. § 2412 (d);

   (3) expedite this action in every way pursuant to 28 U.S.C. § 1657 (a); and,

   (4) grant such other relief as the Court may deem just and proper.

Date: May 8, 2021

                                      Respectfully submitted,

                                             /s/ Bradley P. Moss
                                      __________________________
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